Case 1:16-cv-01266-TWP-DML Document 112 Filed 02/21/18 Page 1 of 1 PageID #: 755



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION




  “JOHN DOE”,                                          )
                                                       )
                                         Plaintiff,    )
                                                       )
  vs.                                                  )   No.: 1:16-cv-01266-TWP-DML
                                                       )
  BUTLER UNIVERSITY, et al.,                           )
                                                       )
                                         Defendants.   )
                                                       )

      ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR
   EXTENSION OF TIME TO FILE REPLY MEMORANDUM IN SUPPORT
    OF MOTION TO EXTEND DEADLINE TO COMPLETE NON-EXPERT
    WITNESS DISCOVERY AND DISCOVERY RELATED TO LIABILITY
   ISSUES AND INCORPORATED REQUEST THAT EXTENSION APPLY
                       TO ALL PARTIES

         This matter is before the court on the Unopposed Motion for Extension of Time to File

  Reply Memorandum in Support of Motion to Extend Deadline to Complete Non-expert Witness

  Discovery and Discovery Related to Liability Issues and Incorporated Request That Extension Apply

  to All Parties (Dkt. 111). The court, being duly advised, now GRANTS the motion.
         IT IS ORDERED that the plaintiff has to and including February 22, 2018 to file his

  reply in support of his motion to extend the deadline to complete non-expert witness discovery

  and discovery related to liability issues.

          Date: 2/21/2018
                                                ____________________________________
                                                   Debra McVicker Lynch
                                                   United States Magistrate Judge
                                                   Southern District of Indiana
  Distribution:
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